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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, CENTRAL DIVISION

 

UNITED STATES OF AMERICA, : ~ INDICTMENT
Plaintiff, - 7g VIOLATION:
. — Count 1: 42 U.S.C. § 3631,
VS. - ot Interference with Housing.
_ MARK OLIC PORTER,

-47-cr- 7
Case: 2:17-cr 0052
Assigned To : Benson, Dee
Assign. Date : 9/13/2017
Description: USA v.

Defendant.

 

The Grand Jury charges:

COUNT 1
42 U.S.C. § 3631 |
(Interference with Housing)

On or about November 3, 2016, in the Central Division of the District of Utah,
MARK OLIC PORTER,
the defendant herein, did by force and threat of force, willfully injure, intimidate, and interfere
with, and attempt to injure, intimidate, and interfere with, M.W., an African-American man,

because of M.W.’s race and color and because M.W. was occupying a dwelling; specifically, the
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defendant yelled “nigger,” said get out of here to M.W. and M.W.’s seven-year-old son, and used
a stun cane (a Zap Cane) to assault M.W., resulting in bodily injury to M.W. and involving the
use of a dangerous weapon, a Zap Cane; all in violation of 42 U.S.C. § 3631.

A TRUE BILL:

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FOREPERSON OF THE GRAND JURY

JOHN W. HUBER
United States Attorney

 
 
 
 

 

 

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Assistant United States Attorne

 

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Trial Attorney
United States Department of Justice
Civil Rights Division
